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                                   Proposed Order



                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS                                                           ENTERED
                                     HOUSTON DIVISION                                                                10/12/2018


In re:                                                     §
                                                           §
HOUTEX BUILDERS, LLC, et al.,1                             §               Case No. 18-34658
                                                           §               Chapter 11
                                                           §
                           DEBTORS.                        §
                                                           §


         ORDER APPROVING EMPLOYMENT OF DIAMOND McCARTHY LLP
         AS COUNSEL FOR THE DEBTORS AND DEBTORS-IN-POSSESSION

         Upon the Application (the “Application”)2 filed by HOUTEX Builders, LLC, 2203 Looscan

Lane, LLC and 415 Shadywood, LLC (collectively, the “Debtors”) for retention and employment of

Diamond McCarthy LLP (“Diamond McCarthy”) as general bankruptcy counsel, pursuant to

§§ 327(a), 330, and 1107(b) of the Bankruptcy Code, as more fully set forth in the Application and

all attachments to the Application; and upon consideration of the Court’s finding that (i) the Court

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant

to 28 U.S.C. § 157(b); (iii) venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

(iv) the Application and Rubio Declaration are in full compliance with all applicable provisions of

the Bankruptcy Code, Bankruptcy Rules, Local Rules of the Southern District of Texas, and Orders

and procedures of this Court; (v) Diamond McCarthy does not represent an interest adverse to the

Debtors estates with respect to the matters upon which they are to be engaged and are “disinterested

persons” within the meaning of that term under §§ 101(14) and 1107(b) of the Bankruptcy Code;

(vi) Diamond McCarthy is qualified to represent the Debtors estates under § 327 of the Bankruptcy


1        The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: HOUTEX Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415
         Shadywood, LLC (7627).
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         Capitalized terms used but not defined herein have the meanings assigned to such terms in the Application.
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Code; (vii) the terms of Diamond McCarthy’s employment have been disclosed and are reasonable

under the circumstances; (viii) proper and adequate notice of the Application and the deadline to file

any objections to the Application was given, and no other or further notice is necessary; (ix) the legal

and factual bases set forth in the Application establish just cause for the relief granted herein; (x) the

relief sought in the Application is in the best interests of the Debtors and their estates; and after due

deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

        1.      In accordance with §§ 327(a), 330 and 1107(b) of the Bankruptcy Code, the Debtors

are authorized to employ and retain Diamond McCarthy as of the Petition Date as their general

bankruptcy counsel, under the terms and conditions set forth in the engagement agreement attached

hereto as Exhibit A.

        2.      Diamond McCarthy is authorized to perform any and all legal services for the

Debtors that are necessary or appropriate in connection with this Chapter 11 Case.

        3.      Diamond McCarthy shall be compensated for its services and reimbursed for related

expenses in accordance with the terms and conditions of the Application and the procedures

provided in §§ 330 and 331 of the Bankruptcy Code, and in accordance with applicable Bankruptcy

Rules, Local Rules, and any other applicable Orders of this Court.

        4.      All compensation for services rendered and reimbursement for expenses incurred

during this Chapter 11 Case shall be paid after further application to and order of this Court, in

accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, the Guidelines, and Orders of this Court in this Chapter 11 Case.

        5.      This order shall be immediately effective from the Petition Date and enforceable

upon entry.

        6.      This order, and all acts taken in furtherance or reliance thereon, shall be effective

notwithstanding any objection until further order of this Court.



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       7.       The Debtors and Diamond McCarthy are authorized to take all actions necessary to

effectuate the relief granted pursuant to this order in accordance with the Application.

       8.       The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this order.

Dated: September ____, 2018



                        October
                      October   02,2018
                              12,   2018
                                                UNITED STATES BANKRUPTCY JUDGE




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                            Exhibit A

                      Engagement Agreement

                            [INSERT]
